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AO 245B (Rev, 09/11) Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Columbia

 

 

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
WESLEY HAWKINS Case Number: 13-cr-00244 (KBJ)
USM Number: 32652-016 FILED
) Jonathan Jeffress
Defendant’s Attorney NOV 2 2 2013
THE DEFENDANT: Clark, U.S. District « Bankruptcy
WW pleaded guilty to count(s) One (1) of the Information filed on 8/21/2013. Courts for the District of Columbis
(J pleaded nolo contendere to count(s) . -
which was accepted by the court.
(J was found guilty on count(s) ee oo oo —
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18:2252A(a)(5)(B) © Possession.of Child Pomography. ©). OANOIZOIS
The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
(1 The defendant has been found not guilty on count(s) _ _
C Count(s) C3 is Care dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/21/2013

Date of Impgsition of Judgment

   
 
    

‘Signaturdof Judge

Ketanji B. Jackson U.S. District Judge

Name and Title of Judge

~<ttf22|r> _ ee

 
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AQ 245B (Rev. 09/11) Judgment in Criminal Case
Sheet 2 — Imprisonment

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DEFENDANT: WESLEY HAWKINS
CASE NUMBER: 13-cr-00244 (KBJ)

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

Three (3) Months on Count 7.

vw The court makes the following recommendations to the Bureau of Prisons:

1. FCI Fort Dix - Low.; 2. FCI Allenwood - Low.; 3. FCi Peterbsurg - Low. (The Court strongly recommends that Mr. Hawkins
be placed at one of these listed institutions. This recommendation is being made based on Mr. Hawkins’ young age (19}, the
need for him to be close to family, and this Court's finding that he is particularly vulnerable to abuse while incarcerated.)

LJ] The defendant is remanded to the custody of the United States Marshal.

{1 The defendant shall surrender to the United States Marshal for this district:

Coat OO am. QO pm on

 

(1 as notified by the United States Marshal.

vw The defendant shal! surrender for service of sentence at the institution designated by the Bureau of Prisons:
[] before 2 p.m. on _

[ as notified by the United States Marshal.

aw as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
} have executed this judgment as follows:
Defendant delivered on _ to
a a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev, 09/11) Judgment in a Criminal Case
Sheet 3 — Supervised Release

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DEFENDANT: WESLEY HAWKINS
CASE NUMBER: 13-cr-00244 (KBJ)

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
Seventy-Three (73) Months on Count 1.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

(]_ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check. if applicable )

w The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

ww The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

iw The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, if applicable )

[1] The defendant shall participate in an approved program for domestic violence. (Check, if applicable }

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, taining, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do So by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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Sheet 3C — Supervised Release

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DEFENDANT: WESLEY HAWKINS
CASE NUMBER: 13-cr-00244 (KBJ)

SPECIAL CONDITIONS OF SUPERVISION

Location Monitoring - You shall be monitored by Radio Frequency and shall abide by all technology requirements for a
period of 90 days. The costs of participation in the location monitoring program is waived. This form of location monitoring
technology is ordered to monitor the following restriction on your movement in the community as well as other
court-imposed conditions of release: You are restricted to your residence at all times except for medical necessities, court
appearances, and to attend treatment programs, or other activities specifically approved by the court.

Sex Offender Registration - You shall comply with the Sex Offender Registration requirements for convicted sex offenders
in any state or jurisdiction where you reside, are employed, carry on a vocation, or are a student.

Contact Restriction - You shall have no unsupervised contact with minors under the age of 18, without the written approval
of the U.S. Probation Office.

Employment/Volunteer Restriction - You shall not be employed in any capacity, or participate in any volunteer activity,
which may cause you to come in direct and/or unsupervised contact with children, except under circumstances approved
in advance by the U.S. Probation Office.

Search - Pursuant to the Adam Walsh Child Protection and Safety Act of 2006, you shail submit to a search of your
person, property, house, residence, vehicle, papers, computer, other electronic communication or data storage devices or
media, and effects at any time, with or without a warrant, by any law enforcement or probation officer with reasonable
suspicion concerning unlawful conduct or a violation of a condition of supervision.

Sex Offender Assessment and Treatment - You shall participate in a program of sex offender assessment and treatment,
as directed by the United States Probation Office. At the direction of the U.S. Probation Office., you shall pay for all or a
portion of any treatment program. You shall waive your right of confidentiality in treatment and sign any necessary
releases for any records imposed as a consequence of this judgment to allow the U.S. Probation Office to review your
course of treatment and progress with the treatment provider(s).

Polygraph Testing - You shall submit to polygraph testing as directed by the U.S. Probation Office. At the direction of the
United States Probation Office, you shall pay for all or a portion of the polygraph testing.
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AO 245B (Rev. 09/11) Judgment 1n a Criminal Case
Sheet 5 — Criminal Monetary Penalties

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DEFENDANT: WESLEY HAWKINS
CASE NUMBER: 13-cr-00244 (KBJ)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ $
(]_ The determination of restitution is deferred until _.An Amended Judgment in a Criminal Case (40 245C) will be entered

after such determination.
(1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately 1 PEO ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(), all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(The court determined that the defendant does not have the ability to pay interest and it is ordered that:
() the interest requirement is waived for the LJ fine [) restitution.

LJ] the interest requirement forthe (1 fine (1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

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DEFENDANT: WESLEY HAWKINS
CASE NUMBER: 13-cr-00244 (KBJ)

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A wy Lump sum payment of $ 100.00 due immediately, balance due

CJ] snot later than or
CL] in accordance Oc OF D DO E,o CF below; or

 

 

 

 

B (J Payment to begin immediately (may be combined with [C, OD,or (F below); or

C ( Payment in equal __ feg., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g, 30 or 60 days) after the date of this judgment; or

D (J Payment in equal __ (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence _ ¢e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F [( Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, pa ment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

OO Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

(1 The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

iw The defendant shall forfeit the defendant’s interest in the following property to the United States:

Pursuant to Rule 32.2(a) of the Fed. Rules of Crim Proc., you, Wesley Hawkins, are ordered to forfeit the following: 1)
Toshiba Laptop S/N 8A119833A, with hard drive S/N 70QIF1YNS, and 2) a cellular telephone iPhone IMEI #
990002833685140.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
